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                                          U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007

                                                     December 1, 2020

BY ECF
The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

        The parties jointly submit this letter in response to the Court’s November 24, 2020 order
directing the parties to meet and confer regarding the defendant’s request that the warden of the
Metropolitan Detention Center (“MDC”) report directly to the Court and counsel on the
defendant’s conditions of detention. (Dkt. No. 76). Over the past week, the Government has
spoken with MDC legal counsel regarding the defendant’s conditions of confinement and has tried
to gather additional information regarding the concerns raised by the defendant, which the
Government has shared with defense counsel. The Government has also conferred with defense
counsel three times regarding the same, as well as the defense’s request relating to MDC Warden
Heriberto Tellez. The parties have been unable to reach agreement. Our respective positions
follow.

        The Government respectfully submits that the Court should allow MDC legal counsel to
respond directly in writing to the Court and defense counsel regarding the concerns defense
counsel has raised relating to the defendant’s conditions of confinement. The Government
understands that MDC legal counsel is prepared to submit a letter by this Friday, December 4,
2020. Such a letter is the appropriate next step at this time, as it will allow the Court to hear
directly from MDC legal counsel who can address the defendant’s conditions of confinement. The
letter will allow the Court to ascertain whether further inquiry, including a personal appearance by
the Warden or other MDC personnel, is necessary. Moreover, the Government does not
understand the concerns raised by the defense to implicate the defendant’s access to legal materials
or her ability to communicate with her counsel. As noted in the Government’s letter dated
November 23, 2020, the defendant continues to have more time to review her discovery than any
other inmate at the MDC. The defendant also has as much, if not more, time as any other MDC
inmate to communicate with her attorneys. (Dkt. No. 74).

       The defense disagrees. As communicated to the Government, the defense’s position is as
follows: Warden Heriberto Tellez should appear before the Court to directly address concerns
regarding Ms. Maxwell’s conditions of confinement, which specifically target her. On October
29, 2020, the defense emailed a letter to Warden Tellez detailing the onerous and restrictive
conditions, including but not limited to concerns regarding the supplemental camera; excessive
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searching (e.g., weekly body scan, 15-minute interval flashlight checks at night, and open-mouth
inspection) despite being surveilled 24/7 by a dedicated three-guard security detail and two
cameras; and the reason she is not being moved to the day room, which we understood was the
original plan (and would reduce searching). Receipt of the letter was acknowledged, but to date
there has been no response and little, if any, redress to the most serious conditions. Upon
information and belief, decisions concerning Ms. Maxwell’s specialized detention are made by
Warden Tellez, or from others outside the MDC. A report from the MDC Legal Department would
provide second-hand information. Accordingly, Warden Tellez should be directed to provide a
first-hand accounting to the Court and counsel why Ms. Maxwell is being detained under such
individualized conditions.

       Your consideration is greatly appreciated.

                                                  Respectfully submitted,

                                                  AUDREY STRAUSS
                                                  Acting United States Attorney


                                            By:       s/
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Cc: All Counsel of Record (By ECF)
